                 Case 2:15-cv-01871-MJP Document 240 Filed 04/17/18 Page 1 of 2



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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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10          MICHAEL KANTOR, et al.,                           CASE NO. C15-1871MJP

11                                  Plaintiff(s),             DISMISSAL ORDER

12                   v.

13          BIGTIP, INC., et al.,

14                                  Defendant(s).

15

16          The Court having been notified of the settlement of this case, and it appearing that no

17   issue remains for the court’s determination,

18          IT IS ORDERED that this action and all claims asserted herein are DISMISSED with

19   prejudice and without costs to any party.

20          In the event that the settlement is not perfected, any party may move to reopen the case,

21   provided that such motion is filed within sixty (60) days of the date of this order. Any trial date

22   and pretrial dates previously set are hereby VACATED.

23          //

24          //


     DISMISSAL ORDER - 1
             Case 2:15-cv-01871-MJP Document 240 Filed 04/17/18 Page 2 of 2



 1         The clerk is ordered to provide copies of this order to all counsel.

 2         Dated April 17, 2018.

 3                                                       A
                                                         Marsha J. Pechman
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                                                         United States District Judge
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     DISMISSAL ORDER - 2
